Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 1 of 18




                                                              000481
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 2 of 18




                                                              000482
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 3 of 18




                                                              000483
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 4 of 18




                                                              000484
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 5 of 18




                                                              000485
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 6 of 18




                                                              000486
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 7 of 18




                                                                   000487
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 8 of 18




                                                                   000488
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 9 of 18




                                                              000489
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 10 of 18




                                                               000490
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 11 of 18




                                                               000491
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 12 of 18




                                                              000492
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 13 of 18




                                                               000493
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 14 of 18




                                                               000494
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 15 of 18




                                                                    000495
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 16 of 18




                                                               000496
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 17 of 18




                                                               000497
Case 5:20-cv-09254-SVK Document 17-9 Filed 03/31/21 Page 18 of 18




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